Case:19-00034-LTS Doc#:38 Filed:07/27/21 Entered:07/27/21 09:50:50                          Desc: Main
                          Document Page 1 of 2


                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF PUERTO RICO
  -------------------------------------------------------------x
  In re:
  THE FINANCIAL OVERSIGHT AND                                      PROMESA
  MANAGEMENT BOARD FOR PUERTO RICO,                                Title III

                as representative of                               Case No. 17-3283 (LTS)
  THE COMMONWEALTH OF PUERTO                                       (Jointly Administered)
  RICO, et al.,
                               Debtors.
  -------------------------------------------------------------x

  ASOCIACIÓN PUERTORRIQUEÑA DE
  PROFESORES UNIVERSITARIOS, ÁNGEL                                 Adv. Proc. No. 19-00034 LTS
  RODRÍGUEZ RIVERA, JAVIER CÓRDOVA
  ITURREGUI, HERIBERTO MARÍN CENTENO,
  YOHANA DE JESÚS BERRÍOS, ANNABELL
  C. SEGARRA, NYDIA E. CHÉVEREZ
  RODRÍGUEZ, FRANCES BOTHWELL DEL TORO,
  LIDA ORTA ANÉS, AND IVETTE BONET
  RIVERA,

  Plaintiffs,
                   v.

  UNIVERSITY OF PUERTO RICO, GOVERNING
  BOARD OF THE UNIVERSITY OF PUERTO RICO,
  WALTER ALOMAR JIMÉNEZ, ZORAIDA BUXÓ
  SANTIAGO, ERIC PÉREZ TORRES,
  ALEJANDRO CAMPORREALE MUNDO,
  ANTONIO MONROIG MALATRASSI, NEFTALÍ
  SOTO SANTIAGO, EMILIO COLÓN BELTRÁN,
  JORGE HADDOCK ACEVEDO, AND
  FINANCIAL OVERSIGHT AND MANAGEMENT
  BOARD FOR PUERTO RICO,

  Defendants,

  MAYRA OLAVARRIA CRUZ, ALAN
  RODRÍGUEZ PEREZ, JORGE RIVERA
  VELAZQUEZ, NAOMY RIVERA, AND
  UNIVERSITY OF PUERTO RICO RETIRMENT
  SYSTEM,
  Nominal Defendants.
  -------------------------------------------------------------x
Case:19-00034-LTS Doc#:38 Filed:07/27/21 Entered:07/27/21 09:50:50                Desc: Main
                            Document Page 2 of 2
Judgment
Adv. Proc. No. 19-00034-LTS


                                        JUDGMENT

       Pursuant to the “Memorandum Order Overruling Objection, Adopting Report and

Recommendation, and Denying Motion for Leave to File Second Amended Complaint” issued on

July 21, 2020 (Docket Entry No. 37), Judgment is entered closing the above captioned adversary

proceeding.



       SO ORDERED.
       Dated: July 27, 2021


                                                   MARÍA ANTONGIORGI JORDÁN, ESQ.
                                                   Clerk of Court

                                                   By: s/Carmen Tacoronte
                                                   Carmen Tacoronte
                                                   Deputy Clerk




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